Case: 5:06-cv-00243-JMH-REW Doc #: 805-2 Filed: 04/30/12 Page: 1 of 2 - Page ID#:
                                    18363




                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION AT LEXINGTON


  IN RE CLASSICSTAR MARE LEASE                        )    MDL No. 1877
  LITIGATION                                          )
                                                      )
                                                      )     Master File:
  AND                                                 )    Civil Action No.: 5:07-cv-353-JMH
                                                      )
  WEST HILLS FARMS, LLC, ET AL.                       )
                                                      )
                                PLAINTIFFS            )
  V.                                                  )    CASE NO.: 06-243-JMH
                                                      )
  CLASSICSTAR, LLC, ET AL.                            )
                                                      )
                                DEFENDANTS            )


                                               ORDER

         Plaintiffs West Hills Farms, LLC, Arbor Farms, LLC, Nelson Breeders, LLC,

  MacDonald Stables, LLC and Monica and Jaswinder Grover (collectively “Plaintiffs”) having

  moved the Court for an award of statutory attorneys’ fees and related nontaxable expenses, and

  the Court being in all ways sufficiently advised,

         IT IS HEREBY ORDERED that Plaintiffs’ Motion is GRANTED. Plaintiffs are awarded

  $4.46 million for fees and $460,107.17 for related nontaxable expenses.

         DATED: _______________________


                                                      ____________________________________
                                                      Judge, United States District Court
Case: 5:06-cv-00243-JMH-REW Doc #: 805-2 Filed: 04/30/12 Page: 2 of 2 - Page ID#:
                                    18364




  TENDERED BY:

  /s/ Barry D. Hunter________________
  Paul E. Sullivan
  Barry D. Hunter
  Medrith Lee Norman
  Frost Brown Todd LLC
  250 West Main Street, Suite 2800
  Lexington, Kentucky 40507-1749
  Telephone: (859) 231-0000
  Facsimile: (859) 231-0011

  Robert C. Webb
  Frost Brown Todd LLC
  400 West Market Street, 32nd Floor
  Louisville, Kentucky 40202-3363
  Telephone: (502) 589-5400
  Facsimile: (502) 581-1087

  Attorneys for Plaintiffs West Hills
  Farms, LLC, Arbor Farms, LLC,
  Nelson Breeders, LLC, MacDonald
  Stables, LLC and Monica and Jaswinder Grover

  LEXLibrary 0108868.0536983 509150v1




                                             2
